                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


SCREEN ACTORS GUILD – AMERICAN                    CIVIL ACTION
FEDERATION OF TELEVISION AND
RADIO ARTISTS, AFL-CIO,                           No. 2:18-cv-00455-MPK

                        Plaintiff,
        vs.

SHERIDAN BROADCASTING
NETWORKS, SHERIDAN
BROADCASTING CORPORATION,
RONALD DAVENPORT, JR., and
RONALD DAVENPORT, SR.,

                        Defendants.


        RESPONSE TO MOTION FOR JUDGMENT ON THE PLEADINGS

        AND NOW, come the Defendants, by and through their undersigned

counsel, and file the within RESPONSE TO MOTION FOR JUDGMENT ON THE

PLEADINGS, and in support thereof, state as follows:

   1.         The averments of this paragraph are admitted.

   2.         The averments of this paragraph are admitted in part and denied in

part. It is admitted that the Plaintiffs filed a Complaint setting forth various claims

against the Defendants.         The factual and legal averments set forth in that

Complaint are denied and strict proof thereof is demanded. It is denied that the

Plaintiffs are entitled to Judgment on the Pleadings as to all of the Defendants.

The Defendants incorporate the argument set forth in their accompanying Brief,

as if set forth herein.

   3.         The averments of this paragraph are admitted. By way of further
response, the Arbitrator’s Opinion and Award are set forth in a written document

which speaks for itself.     Importantly, the Award is only against Sheridan

Broadcasting Networks and no other party.

   4.      The averments of this paragraph are admitted. By way of further

response, the Arbitrator’s Opinion and Award are set forth in a written document

which speaks for itself.     Importantly, the Award is only against Sheridan

Broadcasting Networks and no other party. As such, it is improper to suggest

that all of the Defendants failed to comply with the Arbitration Award when

Sheridan Broadcasting Networks was the only Defendant subject to the Award.

   5.      The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are

denied and strict proof thereof is demanded. By way of further response, the

Defendants incorporate the argument set forth in their accompanying Brief, as if

set forth herein.

   6.      The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are

denied and strict proof thereof is demanded. By way of further response, the

Defendants incorporate the argument set forth in their accompanying Brief, as if

set forth herein.

   WHEREFORE, it is respectfully requested that the Plaintiff’s Motion for

Judgment on the Pleadings be denied.
                       Respectfully Submitted,



Date: March 18, 2019   /s/ David L. Fuchs
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RONALD DAVENPORT, SR.,

                      Defendants.

                            CERTIFICATE OF SERVICE

       David L. Fuchs, hereby certifies, that on the 18th day of March, 2019, a

true and correct copy of the foregoing RESPONSE TO MOTION FOR

JUDGMENT ON THE PLEADINGS was served upon the following (via electronic

notification):

Peter H. Demkovitz
Markowitz & Richman
123 South Broad Street,Suite 2020
Philadelphia, PA 19109

Date: March 18, 2019                   /s/ David L. Fuchs
                                       ROBERT O LAMPL
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